
*329OPINION.
Smith:
The Revenue Act of 1918 permits a corporation to deduct from gross income in its tax return “ debts ascertained to be worthless and charged oil within the taxable year.” In the instant appeal *330the taxpayer contends that the debt owed to it by the International Steel Tube Co., in the amount of $60,353.02, was ascertained to be worthless during that year and was charged off within the taxable year. We are satisfied from the evidence of record that the debt was not ascertained to be worthless and was not charged off the books of account within the year 1920. The taxpayer took corporate action in 1921 and determined the debt to be worthless at that time. Although the debtor was financially embarrassed at the close of 1920, together with a great many other corporations, it apparently still had hopes of obtaining financial assistance which would put it on its feet again. Appeal of Alemite Die Casting &amp; Mfg. Co., 1 B. T. A. 548; Appeal of The Murchison National Bank, 1 B. T. A. 617; Appeal of Carl Muller, 4 B. T. A. 169.

Judgment for the Commissioner.

